                                                     Case 3:20-bk-01311-JAF           FORM
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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES

Case No.:                    20-01311                                                                                                           Trustee Name:                           Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                                                      Date Filed (f) or Converted (c):        06/17/2020 (c)
For the Period Ending:       03/31/2022                                                                                                         §341(a) Meeting Date:                   07/23/2020
                                                                                                                                                Claims Bar Date:                        08/26/2020
                                1                                             2                             3                              4                       5                                        6

                     Asset Description                                    Petition/                Estimated Net Value               Property                Sales/Funds              Asset Fully Administered (FA)/
                      (Scheduled and                                    Unscheduled               (Value Determined by               Abandoned               Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                 Value                         Trustee,              OA =§ 554(a) abandon.          the Estate
                                                                                                 Less Liens, Exemptions,
                                                                                                    and Other Costs)

Ref. #
1      Hancock Whitney Bank DDA Account                                     $12,328.21                              $0.00                  OA                           $0.00                                           FA
       [T-Mobile] [balance as of 04/17/2020] DDA
       0755
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
2      Hancock Whitney Bank DDA Account [Payroll]                           $23,658.41                              $0.00                  OA                           $0.00                                           FA
       [balance as of 04/17/2020] DDA 0763
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
3      Hancock Whitney Bank DDA Account [Verizon]                           $48,669.61                              $0.00                  OA                           $0.00                                           FA
       [balance as of 04/17/2020] DDA 0798
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
4      Hancock Whitney Bank DDA Account                                      $3,541.12                              $0.00                  OA                           $0.00                                           FA
       [Comcast] [balance as of 04/17/2020] DDA
       0801
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
5      Hancock Whitney Bank DDA Account [Sprint]                            $25,433.95                              $0.00                  OA                           $0.00                                           FA
       [balance as of 04/17/2020] DDA 0828
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
6      Hancock Whitney Bank DDA Account [US                                  $1,115.23                              $0.00                  OA                           $0.00                                           FA
       Cellular] [balance as of 04/17/2020] DDA 0836
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
7      Hancock Whitney Bank DDA Account [St.                                    $57.36                              $0.00                  OA                           $0.00                                           FA
       Michigan] [balance as of 04/17/2020] DDA
       0844
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
8      Hancock Whitney Bank DDA Account [St.                                    $75.25                              $0.00                  OA                           $0.00                                           FA
       North Carolina] [balance as of 04/17/2020]
       DDA 0852
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
9      Hancock Whitney Bank DDA Account                                    $352,980.02                              $0.00                  OA                           $0.00                                           FA
       [Operating] [balance as of 04/17/2020]
       Checking 0860
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
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                                                                  INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                   ASSET CASES

Case No.:                    20-01311                                                                                                          Trustee Name:                           Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                                                     Date Filed (f) or Converted (c):        06/17/2020 (c)
For the Period Ending:       03/31/2022                                                                                                        §341(a) Meeting Date:                   07/23/2020
                                                                                                                                               Claims Bar Date:                        08/26/2020
                                1                                             2                            3                              4                       5                                        6

                     Asset Description                                   Petition/                Estimated Net Value               Property                Sales/Funds              Asset Fully Administered (FA)/
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                 Unscheduled (u) Property)                                Value                         Trustee,              OA =§ 554(a) abandon.          the Estate
                                                                                                Less Liens, Exemptions,
                                                                                                   and Other Costs)

10     Hancock Whitney Bank DDA Account [Time                               $6,590.15                              $0.00                  OA                           $0.00                                           FA
       Warner Cable Trust Account] [balance as of
       04/17/2020] DDA 3688
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
11     Hancock Whitney Bank DDA Account [Vonage                             $4,565.03                              $0.00                  OA                           $0.00                                           FA
       Trust Account] [balance as of 04/17/2020] DDA
       4005
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
12     Hancock Whitney Bank DDA Account [EOS                                   $10.00                              $0.00                  OA                           $0.00                                           FA
       Trust Account] [balance as of 04/17/2020] DDA
       3751
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
13     Hancock Whitney Bank DDA Account                                     $8,327.36                              $0.00                  OA                           $0.00                                           FA
       [Diversified Consultants, Inc. Trust] [balance as
       of 04/17/2020] DDA 4262
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
14     Hancock Whitney Bank DDA Account [Crescent                           $1,226.07                              $0.00                  OA                           $0.00                                           FA
       Bank Account] [balance as of 04/17/2020] DDA
       1293
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
15     Hancock Whitney Bank DDA Account                                     $7,407.32                              $0.00                  OA                           $0.00                                           FA
       [Medicomm Account] [balance as of
       04/17/2020] DDA 1307
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
16     Hancock Whitney Bank DDA Account [JH                                 $3,139.72                              $0.00                  OA                           $0.00                                           FA
       Capital Account] [balance as of 04/17/2020]
       DDA 1498
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
17     Hancock Whitney Bank DDA Account                                    $10,575.60                              $0.00                  OA                           $0.00                                           FA
       [Cincinnati Bell Account] [balance as of
       04/17/2020] DDA 9311
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
18     Hancock Whitney Bank DDA Account                                     $2,022.24                              $0.00                  OA                           $0.00                                           FA
       [Safetouch Security] [balance as of 04/17/2020]
       DDA 2021
Asset Notes:     Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
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                                                                                   ASSET CASES

Case No.:                    20-01311                                                                                                         Trustee Name:                            Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                                                    Date Filed (f) or Converted (c):         06/17/2020 (c)
For the Period Ending:       03/31/2022                                                                                                       §341(a) Meeting Date:                    07/23/2020
                                                                                                                                              Claims Bar Date:                         08/26/2020
                                1                                            2                             3                            4                        5                                         6

                     Asset Description                                   Petition/                Estimated Net Value               Property               Sales/Funds               Asset Fully Administered (FA)/
                      (Scheduled and                                   Unscheduled               (Value Determined by               Abandoned              Received by               Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                Value                         Trustee,              OA =§ 554(a) abandon.         the Estate
                                                                                                Less Liens, Exemptions,
                                                                                                   and Other Costs)

19     U.S. Bank Oregon DDA Account [balance as of                           $1,637.93                              $0.00                                              $0.00                                           FA
       04/17/2020] Checking 9132
20     PNC Bank DDA Account [balance as of                                   $1,189.30                              $0.00                                              $0.00                                           FA
       04/17/2020] Operating 8101
21     Hancock Whitney Bank DDA Account [AT&T]                                   $0.00                              $0.00                OA                            $0.00                                           FA
       [balance as of 04/17/2020] Checking 0771
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
22     Hancock Whitney Bank DDA Account                                          $0.00                              $0.00                                              $0.00                                           FA
       [Jefferson Capital Trust] [balance as of
       04/17/2020] Checking 3378
23     Hancock Whitney Bank DDA Account [DCI                                     $0.00                              $0.00                                              $0.00                                           FA
       NCA Trust] [balance as of 04/17/2020]
       Checking 4203
24     Wells Fargo Checking Account [balance as of                             $500.00                            $500.00                                            $500.00                                           FA
       04/17/2020] Checking 3796
25     11a. 90 days old or less: 2,957,323.53 - 0.00                     $2,957,323.53                              $0.00                OA                            $0.00                                           FA
       face amount doubtful or uncollectible accounts
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
26     Over 90 days old: 400,056.22 - 0.00 face                            $400,056.22                              $0.00                OA                            $0.00                                           FA
       amount doubtful or uncollectible accounts
Asset Notes:      Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
27     Office furniture Furniture, fixtures and                            $950,987.31                              $0.00                                              $0.00                                           FA
       equipment as described on the attached listing
       [net book value] $950,987.31
28     Office fixtures 41. Office equipment, including                       Unknown                                $0.00                                              $0.00                                           FA
       all computer equipment and communication
       systems equipment and software Latitude,
       system of record $0.00 Unknown
29     Computer hardware and software as described                       $1,759,364.94                              $0.00                                              $0.00                                           FA
       on the attached listing [net book value]
       $1,759,364.94
30     Interests in insurance policies or annuities                              $0.00                              $0.00                                              $0.00                                           FA
       Package Policy No. 39UUNBH2393 through
       Hartford Fire Insurance Company including
       property, general liability, and employee
       benefits liability [04/25/2019 - 04/25/2020]
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Case No.:                    20-01311                                                                                                           Trustee Name:                            Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                                                      Date Filed (f) or Converted (c):         06/17/2020 (c)
For the Period Ending:       03/31/2022                                                                                                         §341(a) Meeting Date:                    07/23/2020
                                                                                                                                                Claims Bar Date:                         08/26/2020
                                 1                                             2                            3                             4                        5                                         6

                     Asset Description                                    Petition/                Estimated Net Value                Property               Sales/Funds               Asset Fully Administered (FA)/
                      (Scheduled and                                    Unscheduled               (Value Determined by                Abandoned              Received by               Gross Value of Remaining Assets
                 Unscheduled (u) Property)                                 Value                         Trustee,               OA =§ 554(a) abandon.         the Estate
                                                                                                 Less Liens, Exemptions,
                                                                                                    and Other Costs)

31     Business Automobile Policy No.                                              $0.00                                $0.00                                            $0.00                                           FA
       39UUNBH8049 through Hartford Fire
       Insurance Company [04/25/2019 - 04/25/2020]
32     Umbrella Liability Policy No. 39XHUHN3179                                   $0.00                                $0.00                                            $0.00                                           FA
       through Hartford Fire Insurance Company
       [04/25/2019 - 04/25/2020]
33     Worker's Compensation Policy No.                                            $0.00                                $0.00                                            $0.00                                           FA
       39WBAB4UPN through Twin City Fire
       Insurance Company (Hartford) [04/25/2019 -
       04/25/2020]
34     Professional Liability (E&O) Policy No.                                     $0.00                                $0.00                                            $0.00                                           FA
       004040300 through Ironshore Insurance
       Services, LLC [04/25/2019 - 04/25/2020]
35     Crime / Fidelity / Employee Theft Policy No.                                $0.00                                $0.00                                            $0.00                                           FA
       004039100 through Ironshore Specialty
       Insurance Company [04/25/2019 - 04/25/2020]
36     Network Security and Privacy Liability (Cyber)                              $0.00                             $577.01                                           $577.01                                           FA
       Policy
37     Management Liability Policy No.                                             $0.00                                $0.00                                            $0.00                                           FA
       MPL.0525453.00 through Zurich American
       Insurance Company including employee
       practices liability (EPL), directors' & officers'
       liability (D&O) and fiduciary liability
       [04/25/2019 - 04/25/2020]
38     Leasehold improvements and Construction in                          $1,274,738.54                                $0.00                                            $0.00                                           FA
       Progress [net book value]
39     Certificate of Deposit with Hancock Whitney             (u)           $256,656.02                                $0.00              OA                            $0.00                                           FA
       Bank ending in 3825 (secured by Letter of credit
       in favor of Travelers Casualty & Surety
       Company of America)
Asset Notes:       Abandoned per Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68
40     Carve-out of $30,000 in exchange for release of         (u)             Unknown                            $30,000.00                                       $30,000.00                                            FA
       Hancock Whitney Bank accounts
       (Used UTC 1129 because HW Bank accounts
       are scheduled)
Asset Notes:       See Motion to Approve Settlement Agreement with Hancock Whitney Bank and Abandon Certain Collateral, D.E. 68, for terms
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Case No.:                    20-01311                                                                                                          Trustee Name:                             Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                                                     Date Filed (f) or Converted (c):          06/17/2020 (c)
For the Period Ending:       03/31/2022                                                                                                        §341(a) Meeting Date:                     07/23/2020
                                                                                                                                               Claims Bar Date:                          08/26/2020
                                1                                             2                             3                            4                        5                                          6

                     Asset Description                                    Petition/                Estimated Net Value               Property               Sales/Funds                Asset Fully Administered (FA)/
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                 Unscheduled (u) Property)                                 Value                         Trustee,              OA =§ 554(a) abandon.         the Estate
                                                                                                 Less Liens, Exemptions,
                                                                                                    and Other Costs)

41     Sprint / United Management Company                    (u)             Unknown                             $63,200.38                                       $975,249.28                                            FA
       receivable balance
42     Mediacom Communications Corp. account                 (u)             Unknown                               $2,839.04                                       $28,390.37                                            FA
       receivable
43     Refund owed to Debtor by Thames Markey &              (u)            $13,057.00                           $13,057.00                                        $13,057.00                                            FA
       Heekin, PA for duplicate payment
44     Preferential payment claim against Olenn &            (u)             Unknown                               $5,500.00                                          $5,500.00                                          FA
       Penza, LLP
Asset Notes:     See Motion to Approve Settlement Agreement with Olenn & Penza, LLP, D.E. 111
45     Preferential payment claim against E-Oscar-Web        (u)             Unknown                               $6,725.00                                          $6,725.00                                          FA
Asset Notes:      See Motion to Approve Settlement Agreement with E-Oscar-Web, D.E. 112
46     Preferential payment claim against S. Mark              (u)              Unknown                           $15,592.16                                       $15,592.16                                            FA
       Hand & Associates, P.A.
Asset Notes:      See Motion to Approve Settlement Agreement with S. Mark Hand & Associates, P.A., D.E. 113
47     Potential preferential payment claim against            (u)              Unknown                                 $0.00                                            $0.00                                           FA
       CBCInnovis, Inc.
48     15% of the undrawn amount of the Letter of              (u)              Unknown                           $25,000.00                                       $25,000.00                                            FA
       Credit
Asset Notes:      See Trustee's Motion to Approve Compromise with Travelers Casualty and Surety Company of America and Hancock Whitney Bank, D.E. 114
49     CLAIMS AGAINST CHARLOTTE L.                             (u)              Unknown                             $7,500.00                                      $15,000.00                                            FA
       ZEHNDER AND HANCOCK WHITNEY
       BANK
Asset Notes:      See Motion for Approval of Settlement Agreement with Charlotte L. Zehnder and Hancock Whitney Bank, D.E. 131
50     CHARTER COMMUNICATIONS                                  (u)              Unknown                          $277,105.50                                      $554,211.00                                            FA
       RECEIVABLE
51     IRS REFUND, POSSIBLY FOR 940 TAXES                      (u)              Unknown                             $1,102.95                                         $1,102.95                                          FA


TOTALS (Excluding unknown value)                                                                                                                                                            Gross Value of Remaining Assets
                                                                        $8,127,233.44                           $448,699.04                                    $1,670,904.77                                         $0.00



Major Activities affecting case closing:
 03/10/2022    RECEIVED ACKNOWLEDGMENT LETTER FROM IRS RE PROMPT DETERMINATION REQUEST
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Case No.:                    20-01311                                                                                    Trustee Name:                               Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                               Date Filed (f) or Converted (c):            06/17/2020 (c)
For the Period Ending:       03/31/2022                                                                                  §341(a) Meeting Date:                       07/23/2020
                                                                                                                         Claims Bar Date:                            08/26/2020
                                1                                    2                     3                       4                        5                                            6

                     Asset Description                            Petition/       Estimated Net Value           Property              Sales/Funds                  Asset Fully Administered (FA)/
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                                                                                Less Liens, Exemptions,
                                                                                   and Other Costs)

 02/25/2022    OBJECTION TO CLAIM 33-1, D.E. 195; 3/23/22 RECEIVED RESPONSE FROM CLAIMANT IN THE MAIL - DOESNT APPEAR ON DOCKET YET

               3/24/2022 MOTION TO STRIKE RESPONSE TO OBJECTION TO CLAIM 33, D.E. 202
 02/21/2022    AMENDED APPLICATION FOR COMPENSATION FOR STEVE VANDERWILT, D.E. 188

               AMENDED TAX RETURN FILED

               PROMPT DETERMINATION REQUEST SENT
 02/21/2022    TRUSTEE'S MOTION TO APPROVE COMPROMISE WITH IRON MOUNTAIN INFORMATION MANAGEMENT LLC, D.E. 187 - IRON MOUNTAIN WILL WAIVE THE
               ACCRUED STORAGE CHARGES IN THE APPROXIMATE AMOUNT OF $10,000 IN EXCHANGE FOR PAYMENT OF COST OF DESTRUCTION OF RECORDS IN THE
               AMOUNT OF $9,737.28; THE TRUSTEE SHALL PAY IRON MOUNTAIN $9,737.28 WITHIN 14 DAYS OF ENTRY OF ORDER APPROVING COMPROMISE

               ORDER APPROVING COMPROMISE, D.E. 197
 02/01/2022    OBJECTION TO CLAIM 50-1, D.E. 186; ORDER, D.E. 196
 01/03/2022    RECEIVED PROMPT DETERMINATION ACKNOWLEDGEMENT LETTER
 12/28/2021    NOTICE OF ABANDONMENT OF HARDCOPY RECORDS STORED WITH IRON MOUNTAIN, D.E. 163




                                                                                                                    SUBTOTALS                   $0.00                     $0.00
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                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    20-01311                                                                                          Trustee Name:                               Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                                     Date Filed (f) or Converted (c):            06/17/2020 (c)
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                     Asset Description                            Petition/             Estimated Net Value           Property              Sales/Funds                  Asset Fully Administered (FA)/
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                 Unscheduled (u) Property)                         Value                      Trustee,          OA =§ 554(a) abandon.        the Estate
                                                                                      Less Liens, Exemptions,
                                                                                         and Other Costs)

 12/16/2021    OBJECTION TO CLAIM 3-1, D.E. 149; ORDER DISALLOWING CLAIM, D.E. 171

               OBJECTION TO CLAIM 8-1, D.E. 150; WITHDRAWAL OF OBJECTION, D.E. 169 (CREDITOR FILED AMENDED CLAIM 8-2)

               OBJECTION TO CLAIM 12-1, D.E. 151; CREDITOR FILED RESPONSE, D.E. 164; CONSENT ORDER DISALLOWING CLAIM, D.E. 189

               OBJECTION TO CLAIM 13-1, D.E. 152; CREDITOR FILED RESPONSE, D.E. 166; CONSENT ORDER DISALLOWING CLAIM, D.E. 190

               OBJECTION TO CLAIM 14-1, D.E. 153; CREDITOR FILED RESPONSE, D.E. 168; CONSENT ORDER DISALLOWING CLAIM, D.E. 191

               OBJECTION TO CLAIM 15-1, D.E. 154; CREDITOR FILED RESPONSE, D.E. 167; CONSENT ORDER DISALLOWING CLAIM, D.E. 192

               OBJECTION TO CLAIM 16-1, D.E. 155; CREDITOR FILED RESPONSE, D.E. 165; CONSENT ORDER DISALLOWING CLAIM, D.E. 193

               OBJECTION TO CLAIM 34-1, D.E. 156; ORDER DISALLOWING CLAIM, D.E. 172

               OBJECTION TO CLAIM 35-1, D.E. 157; ORDER DISALLOWING CLAIM, D.E. 173

               OBJECTION TO CLAIM 36-1, D.E. 158; ORDER DISALLOWING CLAIM, D.E. 174

               OBJECTION TO CLAIM 37-1, D.E. 159; ORDER DISALLOWING CLAIM, D.E. 175

               OBJECTION TO CLAIM 48-1, D.E. 160; ORDER DISALLOWING CLAIM, D.E. 176

               OBJECTION TO CLAIM 49-1, D.E. 161; ORDER DISALLOWING CLAIM, D.E. 177

               OBJECTION TO CLAIM 52-1, D.E. 162; ORDER DISALLOWING CLAIM, D.E. 170
 11/22/2021    MOTION TO APPROVE COMPROMISE WITH CHARTER COMMUNICATIONS OPERATING, LLC AND HANCOCK WHITNEY BANK, D.E. 146 - WITHIN 14 DAYS OF
               ORDER APPROVING COMPROMISE CHARTER WILL PAY $554,211.00 TO THE TRUSTEE, TRUSTEE SHALL RETAIN 50% PER THE HANCOCK COMPROMISE, WITHIN
               7 DAYS OF RECEIPT OF CHARTER RECEIVABLE THE TRUSTEE WILL DISBURSE THE REMAINING 50% TO HANCOCK

               ORDER GRANTING MOTION TO APPROVE COMPROMISE WITH CHARTER COMMUNICATIONS, D.E. 147
 11/01/2021    FINAL APPLICATION FOR COMPENSATION FILED BY JACOB A. BROWN, D.E. 140; THIS APPLICATION WAS WITHDRAWN 11/5/21, D.E. 145

               APPLICATION FOR COMPENSATION FILED BY STEVEN VANDERWILT, D.E. 138
 08/05/2021    ESTATE TAX RETURNS FILED FOR 2020 AND 2021 WITH PROMPT DETERMINATION REQUEST; K-1'S FOR 2020 AND 2021 MAILED TO SHAREHOLDERS

                                                                                                                          SUBTOTALS                   $0.00                     $0.00
                                               Case 3:20-bk-01311-JAF            FORM
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                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
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Case No.:                    20-01311                                                                                    Trustee Name:                               Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                               Date Filed (f) or Converted (c):            06/17/2020 (c)
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                                                                                                                         Claims Bar Date:                            08/26/2020
                                1                                    2                     3                       4                        5                                            6

                     Asset Description                            Petition/       Estimated Net Value           Property              Sales/Funds                  Asset Fully Administered (FA)/
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                 Unscheduled (u) Property)                         Value                Trustee,          OA =§ 554(a) abandon.        the Estate
                                                                                Less Liens, Exemptions,
                                                                                   and Other Costs)

 07/15/2021    FIRST APPLICATON FILED BY JACOB BROWN FOR INTERIM ALLOWANCE OF ADMINISTRATIVE FEES AND EXPENSES , D.E. 135; ORDER GRANTING
               APPLICATION FOR INTERIM COMPENSATION FOR JACOB BROWN, D.E. 136
 06/30/2021    OBJECTION TO CLAIM 1-1, D.E. 133; OBJECTION WITHDRAWN, D.E. 139
 06/01/2021    MOTION FOR APPROVAL OF SETTLEMENT AGREEMENT WITH CHARLOTTE L. ZEHNDER AND HANCOCK WHITNEY BANK, D.E. 131 - TRUSTEE, MS. ZEHNDER,
               AND HWB AGREE TO SETTLE CLAIMS RELATED TO HWB CLAIMS, 90 DAY TRANSFER, SALARY/BENEFIT TRANSFERS, AND ANY OTHER CLAIMS THE TRUSTEE
               OR HWB COULD ASSERT AGAINST MS. ZEHNDER AS FOLLOWS:
               1)WITHIN 10 DAYS OF ORDER APPROVING COMPROMISE BECOMING FINAL AND NON-APPEALABLE, MS. ZEHNDER SHALL PAY TRUSTEE $15,000
               2)WITHIN 10 DAYS OF SETTLEMENT PAYMENT CLEARING ESTATE'S ACCOUNT, TRUSTEE SHALL PAY $7,500 TO HWB
               3)WITHIN 14 DAYS OF RECEIPT OF ITS PAYMENT, HWB WILL DISMISS MS. ZEHNDER AS A PARTY TO THE STATE COURT ACTION

               ORDER APPROVING COMPROMISE, D.E. 132

               REPORT OF FUNDS RECEIVED, D.E. 141
 03/05/2021    MOTION TO COMPROMISE WITH TRAVELERS CASUALTY AND SURETY COMPANY OF AMERICA AND HANCOCK WHITNEY BANK AND ENJOIN CLAIMS TO
               CERTAIN SURETY BONDS, D.E. 114 -

               TRUSTEE, TRAVELERS, AND HANCOCK HAVE AGREEED TO A COMPROMISE RE THE CD WHEREIN UPON ORDER GRANTING THIS COMPROMISE , TRAVELERS
               SHALL RELEASE THE LOC TO HANCOCK AND TRAVELERS SHALL NO LONGER BE ABLE TO MAKE DRAWS ON THE LOC ; UPON RELEASE OF THE LOC BY
               TRAVELERS, HANCOCK SHALL PAY TO THE TRUSTEE THE GREATER OF 15% OF THE UNDRAWN AMOUNT OF THE LOC ON THE DAY AN ORDER GRANTING THIS
               MOTION IS ENTERED UP TO A MAXIMUM OF $25,000

               ORDER GRANTING MOTION TO APPROVE COMPROMISE AND ENJOIN CLAIMS TO CERTAIN SURETY BONDS , D.E. 129

               REPORT OF FUNDS RECEIVED, D.E. 143
 02/23/2021    MOTION TO APPROVE SETTLEMENT AGREEMENT WITH E-OSCAR-WEBB ("EOW"), D.E. 112 - DEBTOR PAID $45,000 TO EOW WITHIN 90 DAYS PRIOR TO
               PETITION DATE, EOW ASSERTS NEW VALUE DEFENSES, ESTATE AND EOW HAVE AGREED TO SETTLE THE POTENTIAL PREFERENTIAL PAYMENT CLAIM FOR
               $6,725.00 PAYABLE WITHIN 5 DAYS OF AN ORDER APPROVING SETTLEMENT BECOMING FINAL; EOW SHALL HAVE AN ALLOWED GENERAL UNSECURED
               CLAIM IN THE AMOUNT OF $6,725.00 AND SHALL FILE THE POC

               ORDER APPROVING COMPROMISE, D.E. 121

               REPORT OF FUNDS RECEIVED, D.E. 121




                                                                                                                    SUBTOTALS                   $0.00                     $0.00
                                               Case 3:20-bk-01311-JAF            FORM
                                                                                Doc   1
                                                                                     204   Filed 04/06/22           Page 9 of 17                         Page No:    9
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    20-01311                                                                                     Trustee Name:                               Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                                Date Filed (f) or Converted (c):            06/17/2020 (c)
For the Period Ending:       03/31/2022                                                                                   §341(a) Meeting Date:                       07/23/2020
                                                                                                                          Claims Bar Date:                            08/26/2020
                                1                                    2                      3                       4                        5                                            6

                     Asset Description                            Petition/        Estimated Net Value           Property              Sales/Funds                  Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled       (Value Determined by           Abandoned             Received by                  Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                 Trustee,          OA =§ 554(a) abandon.        the Estate
                                                                                 Less Liens, Exemptions,
                                                                                    and Other Costs)

 02/16/2021    MOTION TO APPROVE SETTLEMENT AGREEMENT WITH OLENN & PENZA, LLP ("O&P"), D.E. 111 - DEBTOR PAID O&P $10,501.90 WITHIN 90 DAYS PRIOR TO
               FILING; O&P RAISES ORDINARY COURSE OF BUSINESS, NEW VALUE, AND OTHER DEFENSES; THE ESTATE AND O&P AGREE TO SETTLE THE POTENTIAL
               PREFERENTIAL PAYMENT CLAIM FOR $5,500.00 PAYABLE WITHIN 5 DAYS OF AN ORDER APPROVING THE SETTLEMENT BECOMING FINAL AND
               NON-APPEALABLE; O&P SHALL HAVE AN ALLOWED GENERAL UNSECURED CLAIM IN THE AMOUNT OF $5,500.00 AND SHALL FILE THE POC ON OR BEFORE
               3/31/21

               ORDER GRANTING MOTION TO APPROVE COMPROMISE, D.E. 117

               REPORT OF FUNDS RECEIVED, D.E. 119
 02/13/2021    COMPLAINT FILED AGAINST S. MARK HAND & ASSOCIATES, ADV 21-13

               3/3 MOTION TO APPROVE SETTLEMENT AGREEMENT WITH S. MARK HAND & ASSOCIATES, P.A. ("HAND") , D.E. 113 - DEBTOR PAID HAND $15,592.14 PRIOR TO
               PETITION DATE, TRUSTEE FILED ADVERSARY 21-13 TO RECOVER AVOIDABLE TRANSFERS, HAND AND ESTATE AGREE TO SETTLE CLAIMS RELATED TO THE
               AVOIDABLE TRANSFERS FOR $15,592.14, ESTATE WILL DISMISS THE ADVERSARY PROCEEDING UPON RECEIPT OF THE SETTLEMENT PAYMENT

               ORDER APPROVING COMPROMISE, D.E. 124

               REPORT OF FUNDS RECEIVED, D.E. 123
 12/04/2020    APPLICATION TO EMPLOY STEVE VANDERWILT AS ACCOUNTANT, D.E. 108; ORDER, D.E. 109
 09/21/2020    MOTION TO APPROVE COMPROMISE OF CONTROVERSY WITH SPRINT / UNITED MANAGEMENT COMPANY, D.E. 95 -

               AMOUNT OWED BY SPRINT TO THE DEBTOR IS $1,211,400.77;
               AMOUNT OWED BY THE DEBTOR TO SPRINT IS $236,151.49;
               SPRINT SHALL OFFSET THE AMOUNT OWED BY SPRINT AND PAY THE ESTATE $975,249.28;
               SPRINT SHALL PAY THE FINAL RECEIVABLE BALANCE TO THE TRUSTEE WITHIN 14 DAYS OF ENTRY OF AN ORDER APPROVING COMPROMISE;
               PER THE HANCOCK WHITNEY BANK COMPROMISE, THE TRUSTEE SHALL RETAIN $63,200.38 FOR THE BANKRUPTCY ESTATE;
               WITHIN 14 DAYS OF RECEIPT OF THE FUNDS FROM SPRINT, THE TRUSTEE SHALL DISBURSE $10,000 TO REMKIN;
               WITHIN 14 DAYS OF RECEIPT OF THE FUNDS FROM SPRINT, THE TRUSTEE SHALL DISBURSE THE REMAINING BALANCE OF THE SPRINT RECEIVABLE OF
               $902,049.90 TO HANCOCK WHITNEY BANK

               ORDER GRANTING MOTION TO APPROVE COMPROMISE, D.E. 101

               REPORT OF FUNDS RECEIVED, D.E. 142




                                                                                                                     SUBTOTALS                   $0.00                     $0.00
                                              Case 3:20-bk-01311-JAF             FORM
                                                                                Doc   1
                                                                                    204   Filed 04/06/22          Page 10 of 17                         Page No:    10
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    20-01311                                                                                    Trustee Name:                               Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                               Date Filed (f) or Converted (c):            06/17/2020 (c)
For the Period Ending:       03/31/2022                                                                                  §341(a) Meeting Date:                       07/23/2020
                                                                                                                         Claims Bar Date:                            08/26/2020
                                1                                    2                     3                       4                        5                                            6

                     Asset Description                            Petition/       Estimated Net Value           Property              Sales/Funds                  Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled      (Value Determined by           Abandoned             Received by                  Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                Trustee,          OA =§ 554(a) abandon.        the Estate
                                                                                Less Liens, Exemptions,
                                                                                   and Other Costs)

 09/17/2020    TRUSTEE'S MOTION FOR RECONSIDERATION OF ORDER GRANTING RELIEF FROM STAY, D.E. 92 (RE DAVID THACKER'S ORDER, D.E. 86)

               MOTION TO STAY ORDER GRANTING MOTION TO APPROVE COMPROMISE FILED BY CREDITOR DAVID THACKER , D.E. 97

               ORDER GRANTING TRUSTEE'S MOTION FOR RECONSIDERATION OF ORDER GRANTING RELIEF FROM STAY AND VACATING ORDER GRANTING RELIEF FROM
               STAY, D.E. 106 - (SALIENT STIPULATIONS) -
               1) ORDER GRANTING RELIEF FROM STAY TO THACKER (DE 86) IS VACATED
               2) THACKER'S PROOF OF CLAIM NUMBER 50 SHALL BE TREATED AS TIMELY FILED WITHOUT PREJUDICE TO THE TRUSTEE'S RIGHTS TO OBJECT TO THE
               CLAIM ON GROUNDS OTHER THAN TIMELINESS
 08/24/2020    APPLICATION TO EMPLOY MELISSA WILLIAMS, D.E. 70

               ORDER EMPLOYING MELISSA WILLIAMS TO PROVIDE DATA RESEARCH SERVICES, D.E. 71 -
               TRUSTEE IS AUTHORIZED TO EMPLOY MELISSA WILLIAMS TO PROVIDE DATA RESEARCH SERVICES TO THE BANKRUPTCY ESTATE AND TO ASSIST THE
               TRUSTEE WITH EVALUATING PREFERENCE CLAIMS, ESTABLISHING RECEIVABLE BALANCES, CLAIMS ANALYSIS, AND OTHER RELATED SERVICES;

               THE TRUSTEE IS AUTHORZED TO COMPENSATE MS. WILLIAMS AT A RATE OF $30.00 PER HOUR FOR UP TO $2,000.00 TOTAL WITHOUT FURTHER APPLICATION
               OR ORDER OF THE COURT




                                                                                                                    SUBTOTALS                   $0.00                     $0.00
                                                Case 3:20-bk-01311-JAF           FORM
                                                                                Doc   1
                                                                                    204   Filed 04/06/22                      Page 11 of 17                    Page No:    11
                                                             INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                              ASSET CASES

Case No.:                    20-01311                                                                                               Trustee Name:                           Aaron R. Cohen
Case Name:                   DIVERSIFIED CONSULTANTS, INC.                                                                          Date Filed (f) or Converted (c):        06/17/2020 (c)
For the Period Ending:        03/31/2022                                                                                            §341(a) Meeting Date:                   07/23/2020
                                                                                                                                    Claims Bar Date:                        08/26/2020
                                 1                                   2                            3                           4                        5                                        6

                     Asset Description                            Petition/              Estimated Net Value               Property              Sales/Funds              Asset Fully Administered (FA)/
                      (Scheduled and                            Unscheduled             (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                 Unscheduled (u) Property)                         Value                       Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)

 08/13/2020    MOTION FOR ORDER LIMITING NOTICE AND ESTABLISHING NOTICING PROCEDURES, D.E. 67; ORDER GRANTING MOTION TO LIMIT NOTICE AND
               ESTABLISHING NOTICING PROCEDURES, D.E. 89

               MOTION TO APPROVE SETTLEMENT AGREEMENT WITH HANCOCK WHITNEY BANK AND ABANDON CERTAIN COLLATERAL , ENJOIN CLAIMS TO CERTAIN
               COLLATERAL, AND ENJOIN FDCPA/TCPA CLAIMS, D.E. 68 -

               UPON ENTRY OF AN ORDER APPROVING COMPROMISE, THE REMAINING COLLATERAL SHALL BE ABANDONED TO HANCOCK AND HANCOCK SHALL BE FREE
               TO EXERCISE ITS RIGHTS AND REMEDIES;

               WITHIN 10 DAYS OF ENTRY OF ORDER HANCOCK WILL SEND PAYMENT OF $30,000 FROM THE BANK ACCOUNT TO THE TRUSTEE;

               TRUSTEE SHALL RETAIN THE ABILITY TO COLLECT ANY OUTSTANDING ACCOUNTS RECEIVABLE OF THE DEBTOR , WHICH WILL BE SPLIT WITH HANCOCK
               50/50 (THE SPRINT BALANCE AND ALL A/R COLLECTED PRIOR TO THE ENTRY OF ORDER APPROVING COMPROMISE DON'T QUALIFY NOR DO PAYMENTS
               COLLECTED ON BEHALF OF DEBTOR'S PRIOR CUSTOMERS FROM CONSUMERS AND OTHER PERSONS WHICH THE TRUSTEE INTENDS TO ABANDON );

               ACCORDING TO THE DEBTOR'S BOOKS AND RECORDS, SPRINT / UNITED MANAGEMENT COMPANY OWES THE DEBTOR $1,177,035.30 IN ACCOUNTS
               RECEIVABLE AND SPRINT OWES THE DEBTOR $1,085,000.00; TRUSTEE SHALL RECEIVED THE GREATER OF $10,000.00 OR 50% OF THE AMOUNT COLLECTED
               ABOVE THE SPRING BALANCE WITH HANCOCK BANK RETAINING THE FULL BALANCE OF THE AMOUNT COLLECTED FOR THE SPRINT RECEIVABLE ;

               TRUSTEE WILL REMIT 90% OF THE MEDIACOMM FUNDS TO HANCOCK WITHIN TEN DAYS OF FUNDS CLEARING THE BANK ;

               WITHIN 30 DAYS OF RECEIPT OF THE FUNDS HANCOCK WILL AMEND ITS CLAIM TO REFLECT APPLICABLE OF THE FUNDS RECEIVED AND TO REFLECT THE
               CLAIM IS PARTIALLY SECURED AND PARTIALLY UNSECURED;

               ANY PROCEEDS RECEIVED FROM FRAUDULENT OR PREFERENTIAL PAYMENT CLAIMS ARE PROPERTY OF THE BANKRUPTCY ESTATE

               ORDER GRANTING MOTION TO APPROVE COMPROMISE, D.E. 90

               REPORT OF FUNDS RECEIVED RE CARVE-OUT ON H.W. BANK ACCOUNTS, D.E. 120
 07/07/2020    APPLICATION TO EMPLOY JACOB A. BROWN AS ATTORNEY FOR THE ESTATE NUNC PRO TUNC FROM 7/6/20, D.E. 58; ORDER, D.E. 59


Initial Projected Date Of Final Report (TFR):   06/15/2021                    Current Projected Date Of Final Report (TFR):       06/01/2022               /s/ AARON R. COHEN
                                                                                                                                                           AARON R. COHEN
                                                   Case 3:20-bk-01311-JAF           Doc 204 Filed 04/06/22                       Page 12 of 17
                                                                                    FORM 2                                                                          Page No: 1
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       20-01311                                                                                           Trustee Name:                        Aaron R. Cohen
Case Name:                     DIVERSIFIED CONSULTANTS, INC.                                                                      Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:         **-***2615                                                                                         Checking Acct #:                     ******1101
Co-Debtor Taxpayer ID #:                                                                                                          Account Title:                       dda
For Period Beginning:          04/01/2021                                                                                         Blanket bond (per case limit):       $22,299,000.00
For Period Ending:             03/31/2022                                                                                         Separate bond (if applicable):


     1                2                        3                                                   4                                                    5                    6                    7

Transaction      Check /                   Paid to/                       Description of Transaction                               Uniform           Deposit           Disbursement             Balance
   Date           Ref. #                Received From                                                                             Tran Code            $                    $


08/13/2020                  MEDIACOM COMMUNICATIONS CORP          Account receivable; Estate is entitled to 10% and will               *              $7,060.25                     $0.00             $7,060.25
                                                                  remit 90% to Hancock Whitney Bank per Motion to
                                                                  Approve Settlement Agreement with Hancock Whitney
                                                                  Bank, D.E. 68
                     {42}                                         90% portion belonging to Hancock                   $6,354.22     1280-002                                                           $7,060.25
                                                                  Whitney Bank per MAC, D.E. 68
                     {42}                                         Estate's portion of Mediacomm funds                 $706.03      1221-000                                                           $7,060.25
09/11/2020           3001   Melissa Williams                      Payment for data research services performed                     3991-000                 $0.00                 $168.00             $6,892.25
09/14/2020           3001   STOP PAYMENT: Melissa Williams        Payment for data research services performed                     3991-004                 $0.00                ($168.00)            $7,060.25
09/14/2020           3002   Melissa Williams                      9/8/20 Timesheet, 4.6 hours @ $30/hr; Payment for                3991-000                 $0.00                 $138.00             $6,922.25
                                                                  data research services performed paid per Order, D.E.
                                                                  71
09/18/2020           3003   Hancock Whitney Bank                  90% of Mediacomm funds remitted per Motion to                    8500-002                 $0.00            $6,354.22                  $568.03
                                                                  Approve Compromise, D.E. 68
09/22/2020                  MEDIACOM COMMUNICATIONS               Account receivable; Estate is entitled to 10% and will               *             $21,330.12                     $0.00          $21,898.15
                            CORP.                                 remit 90% to Hancock Whitney Bank per Motion to
                                                                  Approve Settlement Agreement with Hancock Whitney
                                                                  Bank, D.E. 68
                     {42}                                         HANCOCK WHITNEY BANK'S                            $19,197.11     1280-002                                                        $21,898.15
                                                                  90% PORTION
                     {42}                                         ESTATE'S PORTION                                   $2,133.01     1221-000                                                        $21,898.15
10/16/2020           (36)   RSC INSURANCE BROKERAGE INC.          RETURN PREMIUM FROM RSC INSURANCE                                1129-000            $577.01                      $0.00          $22,475.16
                                                                  BROKERAGE, INC.




                                                                                                                                  SUBTOTALS           $28,967.38                 $6,492.22
                                                     Case 3:20-bk-01311-JAF           Doc 204 Filed 04/06/22                      Page 13 of 17
                                                                                      FORM 2                                                                          Page No: 2
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       20-01311                                                                                            Trustee Name:                         Aaron R. Cohen
Case Name:                     DIVERSIFIED CONSULTANTS, INC.                                                                       Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:         **-***2615                                                                                          Checking Acct #:                      ******1101
Co-Debtor Taxpayer ID #:                                                                                                           Account Title:                        dda
For Period Beginning:          04/01/2021                                                                                          Blanket bond (per case limit):        $22,299,000.00
For Period Ending:             03/31/2022                                                                                          Separate bond (if applicable):


     1                2                          3                                                    4                                                   5                    6                    7

Transaction      Check /                   Paid to/                         Description of Transaction                              Uniform            Deposit           Disbursement             Balance
   Date           Ref. #                Received From                                                                              Tran Code             $                    $


10/27/2020                  SPRINT                                 SETTLEMENT, PAYMENT PER MOTION TO                                    *             $975,249.28                    $0.00          $997,724.44
                                                                   APPROVE COMPROMISE WITH SPRINT /
                                                                   UNITED MANAGEMENT COMPANY, D.E. 95
                     {41}                                          Estate's portion                                  $63,200.38     1221-000                                                       $997,724.44
                     {41}                                          Renkim Corporation's portion per                  $10,000.00     1280-002                                                       $997,724.44
                                                                   MAC, D.E. 95
                     {41}                                          Hancock Whitney's portion per MAC,               $902,048.90     1280-002                                                       $997,724.44
                                                                   D.E. 95
10/27/2020           (40)   HANCOCK WHITNEY BANK                   Settlement, Payment per Motion to Approve Settlement             1129-000           $30,000.00                    $0.00        $1,027,724.44
                                                                   Agreement with Hancock Whitney Bank, D.E. 68
10/30/2020                  Veritex Community Bank                 Bank Service Fee                                                 2600-000                  $0.00                $298.57        $1,027,425.87
11/16/2020           (43)   THAMES MARKEY & HEEKIN, PA             REFUND OF DUPLICATE PAYMENT FROM                                 1221-000           $13,057.00                    $0.00        $1,040,482.87
                                                                   DEBTOR FOR ATTORNEY SERVICES
                                                                   PERFORMED
11/16/2020           3004   Melissa Williams                       11/9/20 Timesheet, 5.5 hours @ $30/hr; Payment for               3991-000                  $0.00                $165.00        $1,040,317.87
                                                                   data research services performed paid per Order, D.E.
                                                                   71
11/16/2020           3005   Remkim Corporation                     Funds paid to Remkim Corporation per Motion to                   8500-003                  $0.00           $10,000.00          $1,030,317.87
                                                                   Approve Compromise, D.E. 95 (VOIDED B/C PAYEE
                                                                   NAME MISSPELLED)
11/16/2020           3006   Hancock Whitney Bank                   Funds paid to Hancock Whitney per MAC, D.E. 95                   8500-002                  $0.00          $902,049.90            $128,267.97
11/16/2020           3007   Hancock Whitney Bank                   90% of Mediacomm payment to Hancock Whitney                      8500-002                  $0.00           $19,197.11            $109,070.86
                                                                   Bank per Motion to Approve Compromise, D.E. 68
11/17/2020           3005   VOID: Remkim Corporation               (NAME MISSPELLED - VOIDED & REISSUED)                            8500-003                  $0.00          ($10,000.00)           $119,070.86
11/17/2020           3008   Renkim Corporation                     Funds paid to Renkim Corporation per Motion to                   8500-002                  $0.00           $10,000.00            $109,070.86
                                                                   Approve Compromise, D.E. 95
11/25/2020           (24)   DIVERSIFIED CONSULTANTS                TURNOVER OF FUNDS IN WELLS FARGO                                 1129-000              $500.00                    $0.00          $109,570.86
                                                                   ACCOUNT
11/25/2020           3009   FedEx                                  Remittance number 999971677040, account number                   2990-000                  $0.00                 $11.00          $109,559.86
                                                                   254228311


                                                                                                                                   SUBTOTALS          $1,018,806.28          $931,721.58
                                                     Case 3:20-bk-01311-JAF           Doc 204 Filed 04/06/22        Page 14 of 17
                                                                                      FORM 2                                                           Page No: 3
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       20-01311                                                                              Trustee Name:                        Aaron R. Cohen
Case Name:                     DIVERSIFIED CONSULTANTS, INC.                                                         Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:         **-***2615                                                                            Checking Acct #:                     ******1101
Co-Debtor Taxpayer ID #:                                                                                             Account Title:                       dda
For Period Beginning:          04/01/2021                                                                            Blanket bond (per case limit):       $22,299,000.00
For Period Ending:             03/31/2022                                                                            Separate bond (if applicable):


     1                2                      3                                                     4                                       5                    6                    7

Transaction      Check /                  Paid to/                         Description of Transaction                 Uniform           Deposit           Disbursement             Balance
   Date           Ref. #               Received From                                                                 Tran Code            $                    $


11/30/2020                  Veritex Community Bank                 Bank Service Fee                                   2600-000                 $0.00            $1,509.01            $108,050.85
12/31/2020                  Veritex Community Bank                 Bank Service Fee                                   2600-000                 $0.00                 $174.36         $107,876.49
01/29/2021                  Veritex Community Bank                 Bank Service Fee                                   2600-000                 $0.00                 $174.08         $107,702.41
02/26/2021                  Veritex Community Bank                 Bank Service Fee                                   2600-000                 $0.00                 $156.97         $107,545.44
03/01/2021           (46)   S. MARK HAND & ASSOCIATES, P.A.        PAYMENT IN FULL PER MOTION TO APPROVE              1241-000          $15,592.16                     $0.00         $123,137.60
                                                                   SETTLEMENT AGREEMENT WITH S. MARK
                                                                   HAND & ASSOCIATES, P.A., D.E. 113
03/19/2021           (44)   OLENN & PENZA, LLP                     SETTLEMENT, PAYMENT IN FULL PER MOTION             1241-000           $5,500.00                     $0.00         $128,637.60
                                                                   TO APPROVE SETTLEMENT AGREEMENT WITH
                                                                   OLENN & PENZA LLP, D.E. 111
03/31/2021                  Veritex Community Bank                 Bank Service Fee                                   2600-000                 $0.00                 $200.80         $128,436.80
04/02/2021           (45)   ONLINE DATA EXCHANGE LLC               SETTLEMENT, PAYMENT IN FULL PER MOTION             1241-000           $6,725.00                     $0.00         $135,161.80
                                                                   TO APPROVE COMPROMISE WITH
                                                                   E-OSCAR-WEBB, D.E. 112
04/28/2021           (48)   DIVERSIFIED CONSULTANTS INC.           SETTLEMENT, PAYMENT IN FULL PER MOTION             1229-000          $25,000.00                     $0.00         $160,161.80
                                                                   TO APPROVE COMPROMISE WITH TRAVELERS
                                                                   CASUALTY AND HANCOCK WHITNEY BANK,
                                                                   N.A.114
04/30/2021                  Veritex Community Bank                 Bank Service Fee                                   2600-000                 $0.00                 $231.30         $159,930.50
05/28/2021                  Veritex Community Bank                 Bank Service Fee                                   2600-000                 $0.00                 $241.42         $159,689.08
06/30/2021                  Veritex Community Bank                 Bank Service Fee                                   2600-000                 $0.00                 $249.37         $159,439.71
07/12/2021                  C. L. ZEHNDER                          SETTLEMENT PAYMENT IN FULL PER MOTION                  *             $15,000.00                     $0.00         $174,439.71
                                                                   TO APPROVE COMPROMISE WITH CHARLOTTE
                                                                   ZEHNDER AND HANCOCK WHITNEY BANK,
                                                                   D.E. 131
                     {49}                                          ESTATE'S PORTION PER                 $7,500.00     1249-000                                                      $174,439.71
                                                                   COMPROMISE
                     {49}                                          HWB'S PORTION PER                    $7,500.00     1280-002                                                      $174,439.71
                                                                   COMPROMISE


                                                                                                                     SUBTOTALS           $67,817.16                 $2,937.31
                                                     Case 3:20-bk-01311-JAF           Doc 204 Filed 04/06/22                    Page 15 of 17
                                                                                      FORM 2                                                                       Page No: 4
                                                               CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                       20-01311                                                                                          Trustee Name:                        Aaron R. Cohen
Case Name:                     DIVERSIFIED CONSULTANTS, INC.                                                                     Bank Name:                           Veritex Community Bank
Primary Taxpayer ID #:         **-***2615                                                                                        Checking Acct #:                     ******1101
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                       dda
For Period Beginning:          04/01/2021                                                                                        Blanket bond (per case limit):       $22,299,000.00
For Period Ending:             03/31/2022                                                                                        Separate bond (if applicable):


     1                2                      3                                                     4                                                   5                    6                    7

Transaction      Check /                   Paid to/                        Description of Transaction                             Uniform            Deposit          Disbursement             Balance
   Date           Ref. #                Received From                                                                            Tran Code             $                   $


07/22/2021           3010   HANCOCK WHITNEY BANK                   Funds owed to Hancock Whitney Bank per Order                   8500-002                 $0.00            $7,500.00            $166,939.71
                                                                   Granting Motion for Approval of Settlement Agreement
                                                                   with Charlotte Zehnder and Hancock Whitney Bank,
                                                                   D.E. 132
07/30/2021                  Veritex Community Bank                 Bank Service Fee                                               2600-000                 $0.00                $279.64          $166,660.07
08/27/2021           3011   JACOB BROWN                            ATTORNEY FEES PAID PER ORDER APPROVING                         3210-000                 $0.00           $57,749.50            $108,910.57
                                                                   FIRST APPLICATION FOR INTERIM ALLOWANCE
                                                                   OF FEES, D.E. 136
08/27/2021           3012   JACOB BROWN                            ATTORNEY EXPENSES PAID PER ORDER                               3220-000                 $0.00                $660.28          $108,250.29
                                                                   APPROVING FIRST APPLICATION FOR INTERIM
                                                                   ALLOWANCE OF FEES, D.E. 136
08/31/2021                  Veritex Community Bank                 Bank Service Fee                                               2600-000                 $0.00                $260.26          $107,990.03
09/30/2021                  Veritex Community Bank                 Bank Service Fee                                               2600-000                 $0.00                $168.64          $107,821.39
11/30/2021                  Veritex Community Bank                 Bank Service Fee                                               2600-000                 $0.00                $168.37          $107,653.02
12/22/2021                  CHARTER COMMUNICATIONS                 SETTLEMENT, PAYMENT IN FULL PER MOTION                             *             $554,211.00                   $0.00          $661,864.02
                                                                   TO APPROVE COMPROMISE, D.E. 146
                     {50}                                          ESTATE'S PORTION                               $277,105.50     1221-000                                                      $661,864.02
                     {50}                                          HANCOCK WHITNEY BANK'S                         $277,105.50     1280-002                                                      $661,864.02
                                                                   PORTION
12/31/2021                  Veritex Community Bank                 Bank Service Fee                                               2600-000                 $0.00                $462.21          $661,401.81
01/03/2022           3013   Hancock Whitney Bank                   Payment per Order Granting Motion to Approve                   8500-002                 $0.00          $277,105.50            $384,296.31
                                                                   Compromise with Charter Communications and
                                                                   Hancock Whitney Bank, D.E. 147
01/31/2022                  Veritex Community Bank                 Bank Service Fee                                               2600-000                 $0.00                $749.96          $383,546.35
02/28/2022                  Veritex Community Bank                 Bank Service Fee                                               2600-000                 $0.00                $559.03          $382,987.32
03/08/2022           (51)   UNITED STATES TREASURY                 TURNOVER OF TAX REFUND, MEMO SECTION                           1224-000            $1,102.95                   $0.00          $384,090.27
                                                                   INDICATES F-940
03/21/2022           3014   Iron Mountain                          Paid per Order Granting Trustee's Motion to Approve            7100-000                 $0.00            $9,737.28            $374,352.99
                                                                   Compromise with Iron Mountain, D.E. 197
03/31/2022                  Veritex Community Bank                 Bank Service Fee                                               2600-000                 $0.00                $615.85          $373,737.14
                                                                                                                                 SUBTOTALS           $555,313.95          $356,016.52
                                                     Case 3:20-bk-01311-JAF          Doc 204 Filed 04/06/22                    Page 16 of 17
                                                                                     FORM 2                                                                         Page No: 5
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        20-01311                                                                                         Trustee Name:                         Aaron R. Cohen
Case Name:                      DIVERSIFIED CONSULTANTS, INC.                                                                    Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:          **-***2615                                                                                       Checking Acct #:                      ******1101
Co-Debtor Taxpayer ID #:                                                                                                         Account Title:                        dda
For Period Beginning:           04/01/2021                                                                                       Blanket bond (per case limit):        $22,299,000.00
For Period Ending:              03/31/2022                                                                                       Separate bond (if applicable):


    1                2                          3                                                   4                                                    5                   6                    7

Transaction      Check /                     Paid to/                       Description of Transaction                             Uniform          Deposit            Disbursement             Balance
   Date           Ref. #                  Received From                                                                           Tran Code           $                     $



                                                                                      TOTALS:                                                       $1,670,904.77          $1,297,167.63           $373,737.14
                                                                                          Less: Bank transfers/CDs                                          $0.00                  $0.00
                                                                                      Subtotal                                                      $1,670,904.77          $1,297,167.63
                                                                                          Less: Payments to debtors                                         $0.00                  $0.00
                                                                                      Net                                                           $1,670,904.77          $1,297,167.63




                     For the period of 04/01/2021 to 03/31/2022                                                 For the entire history of the account between 08/13/2020 to 3/31/2022

                     Total Compensable Receipts:                     $317,433.45                                Total Compensable Receipts:                                $448,699.04
                     Total Non-Compensable Receipts:                 $284,605.50                                Total Non-Compensable Receipts:                          $1,222,205.73
                     Total Comp/Non Comp Receipts:                   $602,038.95                                Total Comp/Non Comp Receipts:                            $1,670,904.77
                     Total Internal/Transfer Receipts:                     $0.00                                Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                 $72,133.11                                Total Compensable Disbursements:                            $74,960.90
                     Total Non-Compensable Disbursements:            $284,605.50                                Total Non-Compensable Disbursements:                     $1,222,206.73
                     Total Comp/Non Comp Disbursements:              $356,738.61                                Total Comp/Non Comp Disbursements:                       $1,297,167.63
                     Total Internal/Transfer Disbursements:                $0.00                                Total Internal/Transfer Disbursements:                           $0.00
                                                         Case 3:20-bk-01311-JAF         Doc 204 Filed 04/06/22                Page 17 of 17
                                                                                        FORM 2                                                                     Page No: 6
                                                                   CASH RECEIPTS AND DISBURSEMENTS RECORD


Case No.                        20-01311                                                                                        Trustee Name:                         Aaron R. Cohen
Case Name:                      DIVERSIFIED CONSULTANTS, INC.                                                                   Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:           **-***2615                                                                                     Checking Acct #:                      ******1101
Co-Debtor Taxpayer ID #:                                                                                                        Account Title:                        dda
For Period Beginning:           04/01/2021                                                                                      Blanket bond (per case limit):        $22,299,000.00
For Period Ending:              03/31/2022                                                                                      Separate bond (if applicable):


    1                2                           3                                                     4                                                5                   6                    7

Transaction      Check /                     Paid to/                          Description of Transaction                         Uniform            Deposit          Disbursement             Balance
   Date           Ref. #                  Received From                                                                          Tran Code             $                   $



                                                                                                                                                                                 NET              ACCOUNT
                                                                                        TOTAL - ALL ACCOUNTS                               NET DEPOSITS                     DISBURSE             BALANCES

                                                                                                                                                   $1,670,904.77        $1,297,167.63            $373,737.14




                     For the period of 04/01/2021 to 03/31/2022                                                For the entire history of the account between 08/13/2020 to 3/31/2022

                     Total Compensable Receipts:                       $317,433.45                             Total Compensable Receipts:                                $448,699.04
                     Total Non-Compensable Receipts:                   $284,605.50                             Total Non-Compensable Receipts:                          $1,222,205.73
                     Total Comp/Non Comp Receipts:                     $602,038.95                             Total Comp/Non Comp Receipts:                            $1,670,904.77
                     Total Internal/Transfer Receipts:                       $0.00                             Total Internal/Transfer Receipts:                                $0.00


                     Total Compensable Disbursements:                   $72,133.11                             Total Compensable Disbursements:                            $74,960.90
                     Total Non-Compensable Disbursements:              $284,605.50                             Total Non-Compensable Disbursements:                     $1,222,206.73
                     Total Comp/Non Comp Disbursements:                $356,738.61                             Total Comp/Non Comp Disbursements:                       $1,297,167.63
                     Total Internal/Transfer Disbursements:                  $0.00                             Total Internal/Transfer Disbursements:                           $0.00




                                                                                                                                                 /s/ AARON R. COHEN
                                                                                                                                                 AARON R. COHEN
